     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                            Greenbelt Division


 BRITTNEY FELDER,

                Plaintiff,

        v.                                             Case No. 8:18-cv-03405-PJM

 MGM NATIONAL HARBOR, LLC, et al,

                Defendants.


            MOTION FOR EXTENSION OF SCHEDULING ORDER DEADLINES

       Defendant MGM National Harbor, LLC. (“National Harbor” or “Defendant”) hereby

submits this Motion for Extension of the Scheduling Order Deadlines and moves this Court for a

60-day extension of each of the remaining Scheduling Order deadlines. In support of this Motion,

Defendant states as follows:

       1.      The Parties are actively engaged in discovery. They have each propounded written

requests for production and interrogatories. As of the filing of this Motion, both parties have

responded to one another’s written discovery.

       2.      There have, however, arose numerous issues related to the Parties’ respective

responses and document productions that require additional time to work through.

       3.      On December 6, 2022, Plaintiff filed a Motion to Compel Defendant to serve

responses to Interrogatories, which Defendant believes is now moot given that it served its

responses on December 7, 2022. That said, given the Parties’ course of dealing to date, Defendant

anticipates that the Parties will need time to meet and confer on the written responses.

       4.      Further, Plaintiff served one hundred and twelve (112) separate requests for

documents, many of which contain multiple bulleted sub-requests. Although Defendant maintains
that many of these requests are overly broad, not proportional to the needs of this case, and/or not

in any way related to or necessary for resolving the one cause of action which remains – wrongful

termination based on color – Defendant is diligently conducting searches of its documents,

archived communications, and speaking with individuals with knowledge about the relevant

events, which took place nearly five years ago.

        5.     Defendant understands its obligation to conduct reasonable searches for documents

and to supplement its production on an ongoing basis. It simply needs more time to do so and to

work out any and all disputes with Plaintiff.

        6.     Defendant therefore asks that the Court extend the discovery period and all other

deadlines currently on the Schedule by sixty (60) days.

        7.     Defendant submits that there is good cause to extend the remaining Scheduling

Order deadlines by 60 days. The requested extension is reasonable based on the circumstances and

is not expected to unduly delay proceedings in this case or unfairly prejudice either party. It is also

expected to serve the interests of justice and judicial economy by giving Defendant the additional

time it needs to conduct discovery, and by giving the Parties additional time to resolve their

pending discovery disputes, and by ensuring that the Parties can complete discovery with all

pertinent documents and information at their disposal.

        8.     This is the first request to modify or extend the Scheduling Order deadlines in this

case.

        9.     On December 6, 2022, Defendant sought Plaintiff’s consent for the relief in this

Motion, but Plaintiff declined to consent.

        10.    A proposed order is attached.

        11.    If this Motion is granted, the new deadlines will be:




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       March 3, 2022:       Discovery deadline; submission of status report
       March 10, 2023:      Requests for admission
       March 31, 2023:      Dispositive pretrial motions deadline

       WHEREFORE, the Defendant respectfully requests that this Court enter an order

extending the remaining Scheduling Order deadlines by 60 days.

Dated: December 7, 2022                           Respectfully submitted,

                                                  JACKSON LEWIS P.C.

                                       By:        /s/ Jeremy S. Schneider
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                                                  Counsel for Defendant




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on December 7, 2022, a true and accurate copy of the foregoing

was electronically filed with the Clerk’s Office using this Court’s CM/ECF system and served

upon the following:

              Brittney Felder
              6902 Forbes Blvd
              Seabrook, MD 20706-2160


                                          /s/ Jeremy S. Schneider
                                          Jeremy S. Schneider




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